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WESTERN pisrmcr of LOUBHIR to be used by a prisoner filing a civil rights complaint under
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THE CIVIL RIGHTS ACT, 42 U.S.C. & 1983

MAY 25 2016 UNITED STATES DISTRICT COURT

TONY R. MOORE, CLERK WESTERN DISTRICT OF LOUISIANA
BY: DEPUTY ~

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Full name of Plaintiff, Prisoner Number

CA. Fredy
Ss. Doeiins

Civil Action No. |Lg-C.V-O14]

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cts

Full Name of Defendant(s)
COMPLAINT

I. Previous Lawsuits

A. Have you begun any other, lawsuits while incarcerated or detained in any facility?
Yes No

B. If your answer to the preceding question is yes, provide the following information

1. State the court(s) where each lawsuit was filed (in federal, identify the District; if the state
court, identify the county or parish ):

2. Name the parties to the previous lawsuit(s):

Plaintiffs:

Defendants:

3. Docket number(s):

4. Date(s) on which each lawsuit was filed:

5. Disposition and date thereof [For example, was the case dismissed and when? Was it
appealed and by whom (plaintiff or defendant)? Is the case still pending?]:

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C. Have you filed any lawsuit or appeal in any federal district court or appeals court which has,

B.

been dismissed?

Yes No

If your answer to the preceding question is yes, state the court(s) which dismissed the case,
the civil action number(s), and the reason for dismissal (e.g., frivolity, malice, failure to
state a claim, defendants immune from relief sought, etc.).

Name of institution and address of the current place of confinement:

La Sa\e Correction alt Loney S41 aly} Le 0] Ha lh ty uy

Is there g prison grievance procedure in this institution?
Yes xv No

1. Did you file an administrative grievance based upon the same facts which form the
basis of this lawsuit? |
Yes No /
If Yes, what is the Administrative Remedy Procedure number?

2. If you did not file an administrative grievance, explain why you have not done so.

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3. If you filed an administrative grievance, answer the following question.
What specific steps of the prison procedure did you take and what was the result? (For
example, for state prisoners in the custody of the Department of Public Safety and
Corrections: did you appeal any adverse decision through to Step 3 of the
Department of Public Safety and Corrections? For federal prisoners: did you appeal
any adverse decision from the warden to the Regional Director for the Federal Bureau
of Prisons, or did you make a claim under the Federal Tort Claims Act?)

Attach a copy of each prison response and/or decision rendered in the administrative
proceeding.

Parties to Current Lawsuit:
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A. Name of Plaintiff foul t Ca Ct af be |
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B. Defendant, ( yo 4 ’ be PO“Y ahs , is employed as
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Additional defendants

IV. Statement of Claim

State the Facts of your case. Specifically describe the involvement and actions of each named
defendant. Include the names of all persons involved in the incident(s) or condition(s) giving
rise to this lawsuit, and the dates upon which and the places where the incident(s) and/or
conditions(s) occurred. YOU ARE REQUIRED TO SET FORTH ONLY FACTUAL
ALLEGATIONS. YOU ARE NOT REQUIRED TO SET FORTH LEGAL THEORIES
OR ARGUMENTS.

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Relief

State exactly what you want the court to provide to you or do for you. Make no legal
arguments. Cite no cases or statutes.

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Plaintiff's Declaration

A. I declare under penalty of perjury that all of the facts represented in this complaint
and any attachments hereto is true and correct.

B. I understand that is I am transferred or released, I must apprise the Court of my address, and
my failure to do so may result in this complaint being dismissed.

C. I understand that I may not proceed without prepayment of costs if I have filed three
lawsuits and/or appeals that were dismissed on the grounds that the action and/or appeal was
frivolous or malicious, or failed to state a claim upon which relief may be granted, unless
Tam in imminent danger of serious physical injury.

Signed this oth day of aa rel tp

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Prisoner No. (Louisiana Department of Signature of Plaintiff
Corrections or Federal Bureau of Prisons)
